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                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

EMMA KOE, et al.,

             Plaintiffs,                       CIVIL ACTION NO.

       v.                                      1:23-CV-2904-SEG

CAYLEE NOGGLE, et al.,

             Defendants.

                                  ORDER

      This order concerns the hearing scheduled for July 5 at 11 AM. Given

that service on Defendants was accomplished late on June 30 and given that

no Defendant has yet appeared in this case, the Court considers it prudent to

limit the issues to be addressed at the hearing. Accordingly, the July 5

hearing will be limited to discussion of logistical matters concerning the

TRO/preliminary injunction motion, including the setting of a forthcoming

evidentiary hearing, and the length, substance, and timing of the same.

      SO ORDERED this 3rd day of July, 2023.



                                     ___________________________
                                     SARAH E. GERAGHTY
                                     United States District Judge
